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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

NATIONAL JOB CORPS ASSOCIATION,
JOCELYN RIVERA, ADAMS AND

ASSOCIATES, INC., ALTERNATE
PERSPECTIVES, INC., EDUCATION &
TRAINING RESOURCES, LLC,

STRATEGIX MANAGEMENT, LLC,
TRANSPORTATION COMMUNICATIONS
UNION/IAM,

Plaintiffs,
Vv.
DEPARTMENT OF - LABOR, LORI
CHAVEZ-DEREMER, in her official capacity

as Secretary, Department of Labor,

Defendants.

Civil Case No. 25-cv-04641 (ALC)

ORDER GRANTING TEMPORARY
RESTRAINING ORDER AND ORDER
TO SHOW CAUSE WHY A
PRELIMINARY INJUNCTION
SHOULD NOT ISSUE

UPON CONSIDERATION OF Plaintiffs’ motion for a temporary restraining

order and preliminary injunction and accompanying papers, it is hereby:

ORDERED that the motion for a Temporary Restraining Order is GRANTED.

It is further ORDERED that Defendants, their agents, and all persons acting in

concert or participation with Defendants are ENJOINED from enforcing, implementing,

maintaining or giving effect to the elimination of the Job Corps program, including the stop

work orders and termination and non-renewal notices delivered to Job Corps center operators

starting May 29, 2025; from issuing, enforcing, implementing, maintaining or giving effect to

any shutdown tasks, job terminations, or student removals; and from taking any further

action to eliminate the Job Corps program without Congressional authorization.
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It is further ORDERED that the requirement that Plaintiffs post security pursuant to
Federal Rule of Civil Procedure 65(c) is waived.

It is further ORDERED that the above named defendants show cause before a motion
term of this Court, at Room 444, United States Courthouse, 40 Foley Square, in the City,
County and State of New York, on June 17, 2025, at 3:30 p.m., or as soon thereafter as
counsel may be heard, why an order should not be issued pursuant to Rule 65 of the Federal
Rules of Civil Procedure.

It is further ORDERED that Plaintiff serve a copy of this Order and all supporting
papers, to the extent not previously served, on Defendants or their counsel, on or before
10:00 a.m. on June 5, 2025, via overnight mail and such service shall be deemed good and
sufficient service.

It is further ORDERED that answering papers, if any, shall be served upon the
attorneys for the Plaintiff by delivering copies thereof to its office or filing by ECF on or
before 5:00 p.m. on June 10, 2025.

It is further ORDERED that reply papers, if any, shall be served by hand or by ECF
on or before 5:00 p.m. on June 12, 2025.

Courtesy copies shall be delivered in accordance with Judge Carter’s Individual

Practices.

Dated: June 4, 2025 (Avda 7 Cag _

New York, NY ANDREW L. CARTER, JR.
United States District Judge
